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/                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


    UHURU BARAKA ROWE,

         Plaintiff,

    V.                                           Civil Action No. 3:19CV418

    GREGORY L. HOLLOWAY, ^ al.,

         Defendants.


                                 MEMORANDUM ORDER


         Uhuru Bakara Rowe, proceeding pro se, filed this civil action

    claiming   that    Defendants     violated   his   First   and   Fourteenth

    Amendment rights respecting actions taken in connection with his

    essays commenting on prison life that he attempted to mail to

    persons outside of the institution.      A review of the Court's docket

    reveals    that    Rowe,     by   counsel,   is    currently     litigating

    substantially similar claims from the same time period against

    some of the same defendants.         See Rowe v. Clarke, No. 3:18CV780

    (E.D. Va. filed Nov. 8, 2018) (the "2018 Case").            By Order (ECF

    No. 21) dated June 13, 2019, the Court dismissed the 2018 Case

    with leave to file an amended complaint.            Rowe has now filed a

    Second Amended Complaint in the 2018 Case and Defendants have noted

    appearances therein.       See Rowe, No. 3:18CV780 (E.D. Va. filed Jan.

    11, 2019); ECF Nos. 23, 24.        The Court fails to discern why Rowe

    should be permitted to litigate a separate pro se action that is

    based on virtually the same facts and allegations as those in the
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2018 Case, that is filed against some of the same defendants in

that case.    Moreover, Rowe has now had an opportunity to amend his

complaint     in   the   2018   Case   to   incorporate   all   claims   and

defendants.


     Accordingly, Rowe is directed to show good cause, within

twenty (20) days of the date of entry hereof, why he should be

permitted to litigate a second action pro se while he has a similar

action pending.     Rowe must also demonstrate why allowing a second

action   to    proceed   simultaneously     furthers   the   interests   of

judicial economy and efficiency.

     The Clerk is directed to send a copy of the Memorandum Order

to Rowe and to counsel for Rowe in Rowe v. Clarke, No. 3:18CV780

(E.D. Va. filed Nov. 8, 2018).

     It is so ORDERED.



                                                    /s/
                                   Robert E. Payne
Date: August         2019          Senior United States District Judge
Richmond, Virginia
